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 GURBIR S. GREWAL
 Attorney General of New Jersey
 Attorney for Defendant,
  Tahesha Way, NJ Secretary of State
 R.J. Hughes Justice Complex
 25 Market Street
 PO Box 112
 Trenton, New Jersey 08625
 Attorney for Defendant,

 By:   George N. Cohen
       Deputy Attorney General
       (609) 376-2955
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       Attorney ID #002941985

                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY
                            VICINAGE OF NEWARK


                                      )

 EUGENE MAZO,                         ) HON. LEDA D. WETTRE, U.S.M.J.

       Plaintiff,                     ) Civil Action No. 2:20-cv-08336

       v.                             )

 CHRISTOPHER J. DURKIN, in his        )
 official capacity as Essex
 County Clerk,                        )
                                                      ORDER
 E. JUNIOR MALDONANDO, in his         )
 official capacity as Hudson
 County Clerk,                        )

 JOANNE RAJOPPI, in her official )
 Capacity as Union County Clerk,
                                 )
 TAHESHA WAY, in her official
 Capacity as New Jersey          )
 Secretary of State,
                                 )
      Defendants.
                                 )
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       This matter having come before the court on application by

 Gurbir S. Grewal, Attorney General of the State of New Jersey, by

 George N. Cohen, Deputy Attorney General, on behalf of Defendant,

 Tahesha Way, Secretary of State, for a 30-day extension to file a

 response to the complaint and opposing counsel having consented to

 the requested 30-day extension, and the Court having considered

 the papers submitted herein, and for good cause shown;

       IT IS on this ________ day of ______________, 2020

       ORDERED that Defendant’s request for an extension of time of

 30 days to answer, move, or otherwise respond to the complaint is

 GRANTED; and

       FURTHER ORDERED that Defendant’s answer, motion, or response

 to the complaint shall be filed by October 18, 2020.


                                    _____________________________
                                    Lena Dunn Wettre
                                    United States Magistrate Judge

 DATED: September 18, 2020

 The undersigned consent to the force and entry of the within
 Consent Order.

                                    GURBIR S. GREWAL
                                    ATTORNEY GENERAL of NEW JERSEY
                                    Attorney for Defendant,
                                     Tahesha Way, in her official
                                    capacity as NJ Secretary of State

                              By:   s/George N. Cohen
                                    George N. Cohen
                                    Deputy Attorney General

 Dated: September 17, 2020

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                                    WALTER M. LUERS, ESQ.
                                    Law Firm of Walter M. Luers, LLC
                                    Attorney for Plaintiff,
                                     Eugene Mazo


                                    s/Walter M. Luers
                                    Walter M. Luers, Esq.

 Dated: September 17, 2020




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